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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION



 STATE OF MISSOURI, et al.,

                    Plaintiffs,

          v.                                      Case No. 4:24-cv-520-JAR

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States,
 et al.,
                     Defendants.


                                      NOTICE OF APPEAL
       PLEASE TAKE NOTICE that all Defendants in this case hereby appeal to the United States

Court of Appeals for the Eighth Circuit from this Court’s June 24, 2024 Memorandum and Order

(ECF No. 35) and Preliminary Injunction (ECF No. 36).

       Dated: June 27, 2024                        Respectfully submitted,

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